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                         UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF LOUISIANA


IN RE: WILLIAM METHVIEN                                          CASE NO.: 17-11172
                                                                 CHAPTER 13


                                CERTIFICATE OF SERVICE

       I, Monica Braud, hereby certify, that a copy of the above and foregoing Exparte Motion
for Compensation was filed electronically with the clerk of court using the CM/ECF system.
Notice of this filing will be sent to Annette Crawford, Chapter 13 Trustee,
crawfordtrustee@annettecrawford.com and the U.S. Trustee, ustp.region05@usdoj.gov, by
operation of the court’s electronic filing system.

       Baton Rouge, Louisiana on March 5, 2018.

                                       s/Monica Braud
                                      MONICA BRAUD
